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(y)

United States District Court
Eastern District of Michigan
Southern Division

United States of America,

Plaintiff,
Case No. 21-cr-20686

v.
Hon. Judith E. Levy

D-1 Savinder Singh,

Defendant.
/

Plea Agreement

The United States of America and the defendant, Savinder Singh,
have reached a plea agreement under Federal Rule of Criminal
Procedure 11. The plea agreement’s terms are:

1. Count of Conviction

The defendant will plead guilty to Count 1 of the Indictment.
Count 1 charges the defendant with Possession with Intent to
Distribute a Controlled Substance under Title 21 U.S.C. Section
841(a)(1) and (b)(1)(A).

2. Statutory Minimum and Maximum Penalties

The defendant understands that the count to which he is pleading

guilty carry the following minimum and maximum statutory penalties:

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Count 1 Term of imprisonment: 10 year minimum

Life maximum

Fine: 10,000,000.00 Dollars

Term of supervised release: | At Least 5 years

3. Elements of Count of Conviction

The elements of Count 1 are:
(1) The Defendant knowingly possessed a controlled substance,
specifically, 5 kilograms or more of Cocaine;
(2) The Defendant intended to distribute the controlled substance.

4, Factual Basis

The parties agree that the following facts are true, accurately
describe the defendant’s role in the offense, and provide a sufficient
factual basis for the defendant’s guilty plea:

On November 2, 2021, Customs and Border Protection Officers
encountered Savinder Singh at the outbound inspection area of the
Ambassador Bridge, which is in the Eastern District of Michigan.

Singh was the driver and sole occupant of a commercial semi-truck.

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Officers attempted to stop Singh, but he continued to drive until a
marked unit was forced to intercept his path.

Officers inspected the trailer attached to his semi-truck. After
opening the trailer doors, officers located five brown boxes on the floor
of the trailer. A search of the boxes revealed approximately 142
vacuum sealed bags containing a white substance. The total weight of
the bags of white substance was approximately 142 kilograms. The
sealed packages were sent to a laboratory, and the white substance was
confirmed to be cocaine, a schedule II controlled substance. 142
kilograms of cocaine is a quantity consistent with distribution.

Singh now admits and affirms that on November 2, 2021, he
knowingly and intentionally possessed a controlled substance, and
intended to distribute it by delivering it. Singh admits that the
substance was in fact cocaine, and the quantity of cocaine seized was
approximately 142 kilograms.

5. Advice of Rights

The defendant has read the Indictment, has discussed the charges

and possible defenses with his attorney, and understands the crime

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charged. The defendant understands that, by pleading guilty, he is
waiving many important rights, including the following:
A. The right to plead not guilty and to persist in that plea;
B. The right to a speedy and public trial by jury;
C. The right to be represented by counsel—and, if necessary,
have the court appoint counsel—at trial;
D. The right to be presumed innocent and to require the
government to prove the defendant guilty beyond a reasonable
doubt at trial;
EK. The right to confront and cross-examine adverse witnesses
at trial;
F. The right to testify or not to testify at trial, whichever the
defendant chooses;
G. Ifthe defendant chooses not to testify at trial, the right to
have the jury informed that it may not treat that choice as
evidence of guilt;
H. The right to present evidence or not to present evidence at
trial, whichever the defendant chooses; and

I. The right to compel the attendance of witnesses at trial.

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6. Collateral Consequences of Conviction

The defendant understands that his conviction here may carry
additional consequences under federal or state law. The defendant
understands that, if he is not a United States citizen, his conviction
here may require him to be removed from the United States, denied
citizenship, and denied admission to the United States in the future.
The defendant further understands that the additional consequences of
his conviction here may include, but are not limited to, adverse effects
on the defendant’s immigration status, naturalized citizenship, right to
vote, right to carry a firearm, right to serve on a jury, and ability to hold
certain licenses or to be employed in certain fields. The defendant
understands that no one, including the defendant’s attorney or the
Court, can predict to a certainty what the additional consequences of
the defendant’s conviction might be. The defendant nevertheless affirms
that the defendant chooses to plead guilty regardless of any
immigration or other consequences from his conviction.

7. Safety Valve

The defendant understands that he will only qualify for the safety

valve in 18 U.S.C. § 3553(f) if the Court finds at sentencing that he has

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satisfied all of the requirements in § 3553(6). If the Court finds that the
defendant has satisfied all of those requirements, the Court may—but
is not required to—sentence the defendant below the mandatory
minimum penalties that would otherwise apply.

8. Defendant’s Guideline Range
A. Court’s Determination

The Court will determine the defendant’s guideline range at
sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the defendant receive a two-level reduction
for acceptance of responsibility under USSG § 3E1.1(a). Further, if the
defendant’s offense level is 16 or greater and the defendant is awarded
the two-level reduction under USSG § 3E1.1(a), the government
recommends that the defendant receive an additional one-level
reduction for acceptance of responsibility under USSG § 3E1.1(). If,
however, the government learns that the defendant has engaged in any
conduct inconsistent with acceptance of responsibility—including, but

not limited to, making any false statement to, or withholding

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information from, his probation officer; obstructing justice in any way;
denying his guilt on the offense to which he is pleading guilty;
committing additional crimes after pleading guilty; or otherwise
demonstrating a lack of acceptance of responsibility as defined in USSG
§ 3E1.1—the government will be released from its obligations under
this paragraph, will be free to argue that the defendant not receive any
reduction for acceptance of responsibility under USSG § 3E1.1, and will
be free to argue that the defendant receive an enhancement for
obstruction of justice under USSG § 3C1.1.

C. Other Guideline Recommendations

The parties have no other recommendations as to the defendant’s
guideline calculation.

D. Factual Stipulations for Sentencing Purposes

The parties have no additional factual stipulations for sentencing
purposes.

E. Parties’ Obligations

Both the defendant and the government agree not to take any
position or make any statement that is inconsistent with any of the

guideline recommendations or factual stipulations in paragraphs 8.B,

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8.C, or 8.D. Neither party is otherwise restricted in what it may argue
or present to the Court as to the defendant’s guideline calculation.

F. Nota Basis to Withdraw

The defendant understands that he will have no right to withdraw
from this agreement or withdraw his guilty plea if he disagrees, in any
way, with the guideline range determined by the Court, even if that
guideline range does not incorporate the parties’ recommendations or
factual stipulations in paragraphs 8.B, 8.C, or 8.D. The government
likewise has no right to withdraw from this agreement if it disagrees
with the guideline range determined by the Court.

9. Imposition of Sentence
A. Court’s Obligation

The defendant understands that in determining his sentence, the
Court must calculate the applicable guideline range at sentencing and
must consider that range, any possible departures under the sentencing
guidelines, and the sentencing factors listed in 18 U.S.C. § 3553(a), and
apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation

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Under Federal Rule of Criminal Procedure 11(c)(1)(B), the
government recommends that the defendant’s sentence of imprisonment
on Count 1 not exceed the bottom of the defendant’s guideline range as
determined by the Court.

2. No Right to Withdraw

The government’s recommendation in paragraph 9.B.1 is not
binding on the Court. The defendant understands that he will have no
right to withdraw from this agreement or withdraw his guilty plea if the
Court decides not to follow the government’s recommendation. The
government likewise has no right to withdraw from this agreement if
the Court decides not to follow the government’s recommendation. If
however, the Court rejects or purports to reject any other term or terms
of this plea agreement, the government will be permitted to withdraw
from the agreement.

C. Supervised Release
1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court impose a five-year term of supervised

release.

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2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The
defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if the Court decides not to follow
the parties’ recommendation. The defendant also understands that the
government’s recommendation concerning the length of the defendant’s
sentence of imprisonment, as described above in paragraph 9.B.1, will
not apply to or limit any term of imprisonment that results from any
later revocation of the defendant’s supervised release.

D. Fines

There is no recommendation or agreement as to a fine.

E. Restitution

Restitution is not applicable to this case.

F. Forfeiture

Pursuant to 21 U.S.C. § 853, defendant agrees to forfeit to the
United States, without contest, any and all right, title and interest he
may possess in any property, which constitutes property used, or
intended to be used to commit, or to facilitate, the commission of Count

One of the Indictment. Specifically, defendant agrees to forfeit the

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following property under 21 U.S.C. § 853 as property which facilitated
his violation of Count One:

(a) 2018 Volvo VLN 760 VIN: 4V4NC9EH3KN202695

(b) Great Dane Trailer VIN: 1GR1P0627MD224024

(c) Samsung Galaxy Note 20 IMEI: 352682504908152 and

359646204908153

(d) Apple iPhone IMEI: 356612081996953

(e) Samsung SM-G955W IMEI: 356426080360222

(f) Samsung Tablet IMEI: 359768086885612

(g) Garmin Dezi GPS device Serial Number: 145-01615-12

(h) Rand McNally GPS device Serial Number: 22D5D

(i) 3 Trailer seals

Defendant acknowledges that he has agreed to forfeiture as part
of his sentence and therefore, has no further interest in, or claim to, any
of the identified property. Defendant agrees not to contest forfeiture of
the identified property in any proceeding, whether administrative or
judicial, and to withdraw any claims or petitions previously filed for
return of this property. Following entry of this Rule 11 Agreement,

defendant agrees to stipulate or consent to the prompt entry of one or

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more orders of forfeiture of his interest in such property at, or any time
before, his sentencing in this case.

Defendant also consents and agrees to forfeit and abandon to
federal, state and/or local law enforcement all of his right, title and
interest in the following property: 1 2018 Volvo VLN 760 VIN:
4V4NC9EH38KN202695 (the “Freightliner”’). The defendant waives,
abandons, and surrenders all of his right, title, and interest in the
Freightliner; will not challenge in any way his waiver, abandonment
and surrender of the Freightliner, and agrees to the lawful disposition
of the Freightliner, including the return of the Freightliner to its
rightful owner and/or destruction of the Freightliner by federal, state
and/or local law enforcement.

G. Special Assessment

The defendant understands that he will be required to pay a

special assessment of $100 Dollars, due immediately upon sentencing.

10. Appeal Waiver

The defendant waives any right he may have to appeal his
conviction on any grounds. If the defendant’s sentence of imprisonment
does not exceed the top of the guideline range determined by the Court,

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the defendant also waives any right he may have to appeal his sentence
on any grounds.

11. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective
assistance of counsel or prosecutorial misconduct, as long as the
defendant properly raises those claims by collateral review under 28
U.S.C. § 2255. The defendant also retains the right to pursue any relief
permitted under 18 U.S.C. § 3582(c), as long as the defendant properly
files a motion under that section. The defendant, however, waives any
other right he may have to challenge his conviction or sentence by
collateral review, including, but not limited to, any right he may have to
challenge his conviction or sentence on any grounds under 28 U.S.C.

§ 2255 (except for properly raised ineffective assistance of counsel or
prosecutorial misconduct claims, as described above), 28 U.S.C. § 2241,
or Federal Rule of Civil Procedure 59 or 60.

12. Consequences of Withdrawal of Guilty Plea or Vacation of
Judgment

If the defendant is allowed to withdraw his guilty plea, or if the
defendant’s conviction or sentence under this agreement is vacated, the
government may reinstate any charges against the defendant that were

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dismissed as part of this agreement and may file additional charges
against the defendant relating, directly or indirectly, to any of the
conduct underlying the defendant’s guilty plea or any relevant conduct.
If the government reinstates any charges or files any additional charges
as permitted by this paragraph, the defendant waives his right to
challenge those charges on the ground that they were not filed in a
timely manner, including any claim that they were filed after the
limitations period expired.

13. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his
guilty plea for any reason, he waives all of his rights under Federal
Rule of Evidence 410, and the government may use his guilty plea, any
statement that the defendant made at his guilty plea hearing, and the
factual basis set forth in this agreement, against the defendant in any
proceeding.

14. Prisoner Transfer Treaty

If the Defendant is eligible and applies to transfer his sentence
pursuant to the international prisoner transfer program, the

Government agrees to not oppose the Defendant's transfer application,

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provided that the Defendant does not otherwise breach the plea
agreement. Defendant acknowledges and understands, however, that
the transfer decision rests in the sole discretion of the Office of
International Affairs ("OIA") of the Criminal Division of the United
States Department of Justice and that the position of the Government
is neither binding nor determinative of the positions of other federal
agencies or on the final transfer decision of OIA. Defendant further
understands that in addition to OIA, federal law and the underlying
transfer treaties require that the foreign government must also approve
the transfer. The defendant understands that if the defendant is denied
acceptance into the transfer program for any reason notwithstanding
the position of the government, he will not be able to withdraw his plea
of guilty.
15. Parties to Plea Agreement

This agreement does not bind any government agency except the

United States Attorney’s Office for the Eastern District of Michigan.

16. Scope of Plea Agreement

This plea agreement is the complete agreement between the

parties and supersedes any other promises, representations,

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understandings, or agreements between the parties concerning the
subject matter of this agreement that were made at any time before the
guilty plea is entered in court. Thus, no oral or written promises made
by the government to the defendant or to the attorney for the defendant
at any time before the defendant pleads guilty are binding except to the
extent they have been explicitly incorporated into this plea agreement.
If the parties have entered, or subsequently enter, into a written proffer
or cooperation agreement, though, this plea agreement does not
supersede or abrogate the terms of that agreement. This plea
agreement also does not prevent any civil or administrative actions
against the defendant, or any forfeiture claim against any property, by
the United States or any other party.

17. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in
the United States Attorney’s Office by 5:00 p.m. on July 6, 2022. The
government may withdraw from this agreement at any time before the

defendant pleads guilty.

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Dawn N. Ison

United States Attorney
Buje EeQube
Benjamin Coats Robert Jerome White
Chief, Drug Task Force Assistant United States
Assistant United States Attorney

Attorney

Dated: 6/12/22

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By signing below, the defendant and his attorney agree that the
defendant has read or been read this entire document, has discussed it
with his attorney, and has had a full and complete opportunity to confer
with his attorney. The defendant further agrees that he understands
this entire document, agrees to its terms, has had all of his questions

answered by his attorney, and is satisfied with his attorney’s advice and

representation.

Dated: 8h3laa

Horney for Defendant

Naan Leadginve Se Vintey Ay, A
Brian Legghio\ Savinder Singh ”
Attorney for Defendant - Defendant

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